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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF COLORADO

 In re:                                          )
                                                 )    Case No. 10-24238 HRT
 SVS HOLDINGS, INC.,                             )
                                                 )    Chapter 11
              Debtor.                            )


      ORDER GRANTING MOTION TO SET EXPEDITED HEARING ON
     SMARTMATIC CORPORATION'S MOTION FOR AUTHORITY AND
   STANDING TO PROSECUTE CAUSES OF ACTION ON BEHALF OF THE
  DEBTOR OR, IN THE ALTERNATIVE, FOR APPOINTMENT OF A TRUSTEE


        The above-entitled matter having come before the Court on Smartmatic’s Motion
 for Expedited Hearing on Motion for Authority and Standing to Prosecute Causes of
 Action on Behalf of the Debtor or, in the Alternative, for Appointment of a Trustee
 (“Motion”); the Court, having reviewed the pleadings filed herein and being otherwise
 fully advised in the premises, it is hereby

              ORDERED that the Motion shall be, and hereby is, GRANTED;

       IT IS FURTHER ORDERED that a hearing on the Standing Motion shall be held
 on October 16, 2012, at 1:30 p.m., in Courtroom C-203, Byron G. Rogers U.S.
 Courthouse, 1929 Stout Street, Denver, Colorado.

              DATED this ____ day of September, 2012.

                                                 BY THE COURT:



                                                 _______________________________
                                                 Howard R. Tallman, Chief Judge




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